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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

JOSEPH LEWIS, JR., KENTRELL PARKER,             *           CIVIL ACTION
FARRELL SAMPIER, REGINALD                       *
GEORGE, JOHN TONUBBEE, OTTO                     *           NO. 3:15-cv-00318
BARRERA, CLYDE CARTER, CEDRIC                   *
EVANS, EDWARD GIOVANNI, RICKY D.                *           JUDGE SHELLY D. DICK
DAVIS, LIONEL TOLBERT, and RUFUS                *
WHITE, on behalf of themselves and all          *           MAGISTRATE JUDGE
others similarly situated,                      *           RICHARD L. BOURGEOIS
                                                *

VERSUS                                          *

BURL CAIN, Warden of the Louisiana State *
Penitentiary, in his official capacity;     *
STEPHANIE LEMARTINIERE, Assistant           *
Warden for Health Services, in her official *
Capacity; JAMES M. LEBLANC, Secretary of *
THE LOUISIANA DEPARTMENT OF                 *
PUBLIC SAFETY AND CORRECTIONS               *
***************>M>******’M‘**'M'M'**'M'M‘#*#*>l‘*****#***#>t"M'**‘Mt'M'***********iM‘****

                                          AFFIDAVIT

       BEFORE ME, the undersigned Notary Public qualified in the aforesaid state and parish,

personally came and appeared:

                                     JAMES M. LeBLANC

who, after being duly sworn by me, did depose and state:

1.     I have been employed by the State of Louisiana Department of Public Safety and

Corrections (“DOC”) since 1973.1 have beat Secretary of DOC (“Secretary") from January 2008

through die present time. I served as Acting Chief of Operations for DOC for a period prior to that

and as Warden of Dixon Correctional Institute for the preceding twelve (12) years. I have served

in various capacities, including Undersecretary (1992 - 1995), as well as interim Director of

Probation and Parole (1998 - 1999). I received a B.A. in Business Administration from

Southeastern Louisiana University in December 1972, with minors in Marketing and Accounting.


                                                 l                                            EXHIBIT
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2.       With regards to DOC's ongoing response to the COVID-19 Pandemic, DOC has an

existing infectious disease and pandemic prevention and response plan in place to protect the safety

of all offenders within the DOC system.

3.       As part of its infection control program, DOC Influenza and Pandemic Viral Outbreaks

regulation provides a formal policy and procedure concerning the planning, preparation, and

management of a pandemic viral disease or an influenza outbreak. DOC recognizes that a

pandemic or an influenza outbreak may not follow an expected course and may present new

challenges. DOC has activated this regulation to the highest level, and DOC facility plans have

been customized specifically to address COVID-19.

4.     Pursuant to the governing Department Regulation, each state prison has implemented a

thorough and detailed Continuity of Operations Plan (“COOP”), which have been reviewed by

DOC Headquarters Medical/Operations.

5.      DOC is coordinating with the Governor’s office and other state agencies to stay up to date

on all COVID-19 related issues, developments, and discussions.

6.      I have daily phone calls with the Unified Command Group headed by the Governor. I,

along with all other Cabinet Secretaries and other local and state leadership officials, participate

in these phone calls.

7.      DOC is actively involved in the statewide management and response through the

Governor’s Office of Homeland Security and Emergency Preparedness.

8.      DOC has conference calls every Monday, Wednesday, and Friday that include all DOC

leadership, all Wardens, Louisiana State Police, and the Louisiana Sheriffs Association. These

phone calls discuss updates from each institution, medical reports and updates, institutional

reports, and strategy for continued management related to COVID-19.



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9.     DOC has suspended visitation, volunteering, tours, transfers between prisons/ routine

transfers from local level, and postponed the Angola spring rodeo, all in effort to minimize

movement.

10.    DOC has limited new intakes to only those who must be housed in a state prison. Each

intake is screened and assessed for symptoms, and then quarantined for 14 days before placed in

general population.

11.    DOC has created a COVID-19 webpage on its website and updates it frequently with the

latest information. This has proven useful for staff and offenders’ families during this pandemic.

12.    DOC has created two COVID-19 informational videos for offenders. These videos include

an introduction by me and the onsite physician at Angola, an overview of DOC’s response to the

pandemic, and proactive ways offenders can reduce risk of infection. These videos are available

in both English and Spanish. These videos are played on loop at all prisons and are also available

on DOC’s website for families to view.

13.     DOC, together with Securus Technologies, Inc., is providing offenders in state-run prisons

two (2) free 15-minute phone calls per week and two (2) free email stamps per week to allow

offenders to maintain communication with family and friends during this crisis.

14.     DOC has suspended medical visit co-payments in state prisons.

15.     DOC has suspended the two-hundred and fifty dollar ($250) minimum account balance

requirement on offender bank accounts in state prisons.

16.     DOC has also required and ensured that ample hand sanitizer and soap are readily available

at all state prisons. Offenders will be issued additional free bars of soap on an ongoing basis.

17.     DOC is following the guidelines of the United States Centers for Disease Control and

Prevention (“CDC”).



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18.    In addition to the CDC guidelines, DOC has instituted reverse isolation for the most

vulnerable of the offender population. Approximately two weeks ago, DOC identified offenders

most at risk for infection and began reverse isolation of those offenders.

19.    DOC has obtained from the Louisiana Department of Health (“LDH”) COVID-19 test

sample collection kits, which have been issued to all prison facilities.

20.    DOC has issued offender testing criteria guidelines to all state facilities, which are based

upon the direction of LDH. The guidelines require that any offender exhibiting symptoms of an

influenza-like illness, such as fever or fever and a cough shall be tested for COVID-19 and

influenza.

21.       DOC has provided Personal Protective Equipment (“PPE”) to staff and offenders, as

needed.

22.       DOC has issued COVID-19-specific guidelines and trained all state prisons regarding

screening, isolation, quarantine, housing, proper use of PPE, and precautionary measures. These

guidelines are revised and updated as the CDC issues new information.

23.       Each DOC facility has quarantine and isolation capabilities, which are used as needed.

24.       DOC implemented daily tracking of all offender influenza and COVID-19 testing at each

facility and delivers the COVID-19 test samples to LDH for laboratory testing.

25.       On March 16,2020, a “Call to Action” plan related to COVID-19 in Louisiana jails and

prisons was initiated by The Promise of Justice Initiative, the ACLU of Louisiana, the Southern

Poverty Law Center and other organizations. Mercedes Montagues, lead counsel for Plaintiffs, is

the Executive Director of The Promise of Justice Initiative, and Plaintiffs are also represented by

the ACLU of Louisiana and the Southern Poverty Law Center. This “Call to Action” publicly

disseminated my email address, as well as the email addresses of DOC General Counsel Jonathan



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Vining, and the Governor’s Executive Counsel Matthew Block, among others. It encouraged

persons to repeatedly forward an identical letter to the leadership of DOC and the State of

Louisiana, which overwhelmed the email accounts of those employees. Instead of devoting all

available time to the underlying emergency declaration, valuable resources have been devoted to

receiving hundreds of email forwards of the same chain letter each day since March 16.

26.     The foregoing is true to the best of my knowledge, information, and belief.




         SWORN TO AND SUBSCRIBED before me, Notary, on the                            _L,   day of

                             .,   2020



                                                                                      NOTARY PUBLIC
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                                                                                      BAR ROLL 35525

52388214. vl                                                                     STATE OF LOUISIANA
                                                                                 COMMISSIONED fORL}F|




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